

Deuser v Precision Constr. &amp; Dev., Inc. (2019 NY Slip Op 00742)





Deuser v Precision Constr. &amp; Dev., Inc.


2019 NY Slip Op 00742


Decided on February 1, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 1, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CARNI, J.P., LINDLEY, NEMOYER, CURRAN, AND WINSLOW, JJ.


721 CA 17-00832

[*1]DYLAN DEUSER, PLAINTIFF-RESPONDENT,
vPRECISION CONSTRUCTION &amp; DEVELOPMENT, INC., DEFENDANT-APPELLANT, RYAN BRAUN, DEFENDANT-RESPONDENT, ET AL., DEFENDANTS. (APPEAL NO. 3.) 






KENNEY SHELTON LIPTAK NOWAK, LLP, BUFFALO (MELISSA A. FOTI OF COUNSEL), FOR DEFENDANT-APPELLANT.
MARCUS &amp; CINELLI, LLP, WILLIAMSVILLE (BRIAN L. CINELLI OF COUNSEL), FOR PLAINTIFF-RESPONDENT.
BROWN &amp; KELLY, LLP, BUFFALO (KEVIN D. WALSH OF COUNSEL), FOR DEFENDANT-RESPONDENT. 


	Appeal from an order of the Supreme Court, Erie County (John L. Michalski, A.J.), entered April 7, 2017. The order denied the motion of defendant Precision Construction &amp; Development, Inc. to set aside a jury verdict. 
Now, upon the stipulation of discontinuance signed by the attorneys for the parties on July 12 and 17, and August 20, 2018, and filed in the Erie County Clerk's Office on August 27, 2018,
It is hereby ORDERED that said appeal is unanimously dismissed without costs upon stipulation.
Entered: February 1, 2019
Mark W. Bennett
Clerk of the Court








